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                     EXHIBIT C
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                      EXHIBIT 8
                                                    Space Data Corporation v. Alphabet Inc. et al.
                                                         &DVH1RFY%/) 1& 
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                                                     3ODLQWLII¶V3UHVXPSWLYH)LQDO:LWQHVV/LVW
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       6SDFH'DWD&RUSRUDWLRQ ³6'&´ DQWLFLSDWHVFDOOLQJLQLWVFDVHLQFKLHIWKHIROORZLQJZLWQHVVHVHLWKHUOLYHRUE\GHSRVLWLRQ
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       7KLVOLVWLVQRWDFRPPLWPHQWWKDW3ODLQWLIIZLOOFDOODQ\SDUWLFXODUZLWQHVVDWWULDORUDUHSUHVHQWDWLRQWKDWDQ\RIWKHZLWQHVVHV
OLVWHGDUHDYDLODEOHRUZLOODSSHDUIRUWULDO,IDQ\ZLWQHVVLVXQDYDLODEOH3ODLQWLIIUHVHUYHVWKHULJKWWRXVHKLVRUKHUGHSRVLWLRQ
WHVWLPRQ\3ODLQWLIIUHVHUYHVWKHULJKWWRFDOODQ\ZLWQHVVLGHQWLILHGDVD³OLYH´ZLWQHVVE\GHVLJQDWLRQDQGYLFHYHUVD
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       3ODLQWLIIDOVRUHVHUYHVWKHULJKWWRFDOODWWULDOLQLWVFDVH  DQ\SHUVRQVLGHQWLILHGE\'HIHQGDQWVRQLWVZLWQHVVOLVW HJ$VWUR
7HOOHUDQG6DO&DQGLGR OLYHRUE\GHSRVLWLRQDQG  DGGLWLRQDOZLWQHVVHVQRWLGHQWLILHGKHUHLQEDVHGXSRQDQ\GHYHORSPHQWVWKDW
PD\RFFXUOHDGLQJXSWRDQGRUGXULQJWKHFRXUVHRIWKHWULDO7KHVHGLVFORVXUHVDUHPDGHEDVHGRQWKHLQIRUPDWLRQWKDWLVUHDVRQDEO\
DYDLODEOHWR6'&DWWKLVWLPHDQGDWWKLVVWDJHRIWKHSURFHHGLQJV3ODLQWLIIUHVHUYHVWKHULJKWWRPRGLI\LWVOLVWGHSHQGLQJRQFDVH
GHYHORSPHQWVDQGFRXUWUXOLQJV)XUWKHULQYHVWLJDWLRQDQGDQDO\VLVPD\\LHOGDGGLWLRQDOLQIRUPDWLRQ$VDGGLWLRQDOLQIRUPDWLRQ
EHFRPHVDYDLODEOH6'&UHVHUYHVWKHULJKWWRVXSSOHPHQWUHYLVHFRUUHFWFODULI\RURWKHUZLVHDPHQGWKHVHGLVFORVXUHV
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       3ODLQWLIIUHVHUYHVDOOULJKWVZLWKUHVSHFWWRWHVWLPRQ\WKDWZRXOGEHVROHO\IRUWKHSXUSRVHRILPSHDFKPHQWRUUHEXWWDORU
ZLWQHVVHVWKDWZRXOGEHFDOOHGVROHO\IRULPSHDFKPHQWRUUHEXWWDO
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        3ODLQWLIIUHVHUYHVWKHULJKWWRPRGLI\WKHWLPHHVWLPDWHVOLVWHGIRUHDFKZLWQHVVLQFOXGLQJWKHULJKWWRPDNHPRGLILFDWLRQVEDVHG
RQ'HIHQGDQWV¶ZLWQHVVOLVWDQGHVWLPDWHV7KHFXUUHQWOLVWLQFOXGHVVSDFHVIRUWKHLQVHUWLRQRIFURVVH[DPLQDWLRQWLPHHVWLPDWHVE\
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       7KLVOLVWLVSURYLGHGH[SUHVVO\VXEMHFWWRDQGZLWKRXWZDLYLQJDQ\DSSOLFDEOHSULYLOHJHVSURWHFWLRQVRURWKHULPPXQLWLHV
LQFOXGLQJWKHDWWRUQH\FOLHQWSULYLOHJHDQGWKHZRUNSURGXFWGRFWULQH
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       :LWQHVV                        6KRUW6WDWHPHQWRIWKH6XEVWDQFHRI7HVWLPRQ\                                 (VWLPDWHG/HQJWK         :KHWKHU/LYH
                                                                                                                         'LUHFW&URVV               RU%\
                                                                                                                                                   'HSRVLWLRQ
    *HUDOG.QREODFK    Gerald Knoblach is the CEO and co-founder of SDC.0U.QREODFKLV              'LUHFWKRXUV                        /LYH
                       H[SHFWHGWRWHVWLI\DERXWWKHFRQFHSWGHYHORSPHQWUHVHDUFKSODQQLQJDQG      &URVV>*RRJOHWR
                       RUJDQL]DWLRQDOZRUNIRU6'&FRQFHSWLRQDQGUHGXFWLRQWRSUDFWLFHRIWKH        ILOO@
                       LQYHQWLRQVFODLPHGLQWKH¶3DWHQWUHDFWLRQWRWKHLQYHQWLRQVFRYHUHGE\
                       WKH¶3DWHQWLQYHQWRUVKLSRIWKH¶3DWHQWVHFRQGDU\FRQVLGHUDWLRQVRI
                       QRQREYLRXVQHVVDVWRWKH¶3DWHQWZLWKLQKLVSHUVRQDONQRZOHGJHWKH
                       SURVHFXWLRQRIWKH¶3DWHQWDQGUHODWHGSDWHQWVRUSDWHQWDSSOLFDWLRQV
                       LQFOXGLQJWKHLVVXDQFHRIDFHUWLILFDWHRIFRUUHFWLRQIRUWKH¶3DWHQW
                       UHVHDUFKGHYHORSPHQWGHVLJQIXQFWLRQDQGRSHUDWLRQRI6'&¶V3UDFWLFLQJ
                       3URGXFWV6'&PHHWLQJVZLWK*RRJOH6'&1'$VDQG1'$ZLWK*RRJOH
                       GLVFORVXUHVLQWKH)HEUXDU\HPDLOWR0LNH3HDUVRQUH³6SDFH
                       'DWD*RRJOH&RQILGHQWLDOLW\$JUHHPHQW´WUDGHVHFUHWVDQGFRQILGHQWLDO
                       LQIRUPDWLRQVKDUHGZLWK*RRJOHWKHLQIRUPDWLRQLGHQWLILHGLQ6SDFH'DWD¶V
                       )LIWK$PHQGHG7UDGH6HFUHW'LVFORVXUHVZLQGDQDO\VLVUHVHDUFK
                       DQGGHYHORSPHQWRIVWHHULQJEDOORRQVPDQDJLQJDIOHHWRIEDOORRQVDQGRU
                       VWDWLRQNHHSLQJWKHUPDOPDQDJHPHQW6'&12&WRXUVDQGVHFXULW\
                       *RRJOH¶V)HEUXDU\WRXUSRVWWRXUHPDLOVFRQYHUVDWLRQVDQG
                       LQWHUDFWLRQVZLWK*RRJOHVWHSVWDNHQWRSURWHFWWUDGHVHFUHWVDQGFRQILGHQWLDO
                       LQIRUPDWLRQVSHFLILFIHDWXUHVRIHDFKRIWKH6'&WUDGHVHFUHWVWKH‫ތ‬
                       3DWHQWFRPSHWLWLRQZLWK*RRJOHDQGWKHPDUNHWIRU6'&¶VWHFKQRORJLHV
                       6'&VSHFWUXPPDUNHWLQJDQGVDOHVRILWVSURGXFW6'&FXVWRPHUVHIIRUWVWR
                       SURYLGHZLUHOHVVFRPPXQLFDWLRQVVHUYLFHVWR3XHUWR5LFRIXQGLQJGDPDJHV
                       FDXVHGE\*RRJOH¶VPLVDSSURSULDWLRQRIWKHWUDGHVHFUHWVDQGEUHDFKRI
                       FRQWUDFWWKHFRVWRIGHYHORSLQJ6'&¶VWUDGHVHFUHWV6'&¶VSHUIRUPDQFH
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                       XQGHUWKHSDUWLHV¶1'$VXEMHFWVFRYHUHGLQKLVGHSRVLWLRQVLQIRUPDWLRQ
                       SHUWDLQLQJWRWRSLF V IRUZKLFKKHLVD)5&3 E  GHVLJQHHDQGIDFWXDO

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                       DVVHUWLRQVLQWKH)$&+HPD\DOVRWHVWLI\FRQFHUQLQJGRFXPHQWVRQWKH
                       H[KLELWOLVWWKDWDUHHLWKHUDXWKRUHGE\RUZHUHVHQWWRKLPRUDUHWKHVXEMHFW
                       PDWWHURIKLVGHFODUDWLRQVVXEPLWWHGLQWKHFDVHDQGWKHPDLQWHQDQFHDQG
                        FRQWHQWRI6'&EXVLQHVVUHFRUGVRQWKHH[KLELWOLVW
 *HRUJH5LWFKLH        Mr. Ritchie is the C.F.O. of SDC. 0U5LWFKLHLVH[SHFWHGWRWHVWLI\DERXW                  'LUHFWKRXUV         /LYH
                       6'&¶VEXVLQHVVRSHUDWLRQVLQFOXGLQJFRVWVORJLVWLFVVWUDWHJ\ILQDQFHV                   &URVV>*RRJOHWR
                       EXVLQHVVDQGILQDQFLDOSODQQLQJ6'&ILQDQFLDOVWDWHPHQWVIURP                          ILOO@
                        SUHVHQW6'&UHYHQXHVFRVWVDQGSURILWV6'&GHYHORSPHQWFRVWVDQG
                        H[SHQVHVUHODWHGWRWUDGHVHFUHWVWKHGHYHORSPHQWFRQWHQWVSXUSRVHDQGXVH
                        RIWKHILQDQFLDOPRGHOVKDUHGZLWK*RRJOH6'&EXVLQHVVSODQVIRUSURYLGLQJ
                        EURDGEDQGFRPPXQLFDWLRQVVHUYLFHVWRFRPPHUFLDOFXVWRPHUVIURP
                        SUHVHQW6'&¶VWHFKQRORJ\ILQDQFHVEXVLQHVVUHODWLRQVKLSVIXQGLQJ6'&¶V
                        HIIRUWVWRPDLQWDLQWKHVHFUHF\RILWVSURSULHWDU\FRQILGHQWLDOLQIRUPDWLRQ
                        LQFOXGLQJWUDGHVHFUHWVFRPSHWLWLRQZLWK*RRJOHPDUNHWIRUDQGVDOHVRI
                        6'&¶VSURGXFWVVXEMHFWVFRYHUHGLQKLVGHSRVLWLRQLQIRUPDWLRQSHUWDLQLQJWR
                        WRSLF V IRUZKLFKKHLVD)5&3 E  GHVLJQHHDQGIDFWXDODVVHUWLRQVLQ
                        WKH)$&+HPD\DOVRWHVWLI\FRQFHUQLQJGRFXPHQWVRQWKHH[KLELWOLVWWKDW
                        DUHHLWKHUDXWKRUHGE\RUZHUHVHQWWRKLPRURQWKHVXEMHFWPDWWHURIKLV
                        GHFODUDWLRQVVXEPLWWHGLQWKLVFDVHDQGWKHPDLQWHQDQFHDQGFRQWHQWRI6'&
                        EXVLQHVVUHFRUGVRQWKHH[KLELWOLVW
 -LP:LHVHQEHUJ        Mr. Wiesenberg is SDC’s Chief Strategy Officer and Board Member. 0U                         'LUHFWKRXUV        /LYH
                       :LHVHQEHUJLVH[SHFWHGWRWHVWLI\DERXW6'&VWUDWHJLFDOOLDQFHVZLWKZLUHOHVV                &URVV>*RRJOHWR
                        VHUYLFHSURYLGHUVDQGHTXLSPHQWPDQXIDFWXUHUV6'&EXVLQHVVDQGVSHFWUXP                    ILOO@
                        12&WRXUVDQGVHFXULW\PHHWLQJVZLWK*RRJOHDQG*RRJOH¶V)HEUXDU\
                        WRXUDQGLQIRUPDWLRQVKDUHGILQDQFLDOLQIRUPDWLRQVKDUHGZLWK*RRJOH6'&
                        HIIRUWVWRSURWHFWWUDGHVHFUHWVDQGFRQILGHQWLDOLQIRUPDWLRQ6'&3ULYDWH
                        3ODFHPHQW0HPRUDQGXPVXEMHFWVFRYHUHGLQKLVGHSRVLWLRQDQGIDFWXDO
                        DVVHUWLRQVLQWKH)$&+HPD\DOVRWHVWLI\FRQFHUQLQJGRFXPHQWVRQWKH
                        H[KLELWOLVWWKDWDUHHLWKHUDXWKRUHGE\RUZHUHVHQWWRKLP
 (ULF)ULVFKH          Eric Frische co-founded SDC and served as its CTO and as a Director. 0U                     'LUHFWKRXUV         /LYH
                       )ULVFKHLVH[SHFWHGWRWHVWLI\DERXWWKHFRQFHSWLRQDQGUHGXFWLRQWRSUDFWLFH                &URVV>*RRJOHWR
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                       RIWKHDOOHJHGLQYHQWLRQVFODLPHGLQWKH¶3DWHQWUHDFWLRQWRWKH                        ILOO@
                        LQYHQWLRQVFRYHUHGE\WKH¶3DWHQWLQYHQWRUVKLSRIWKH¶3DWHQW

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                        VHFRQGDU\FRQVLGHUDWLRQVRIQRQREYLRXVQHVVDVWRWKH¶3DWHQWZLWKLQKLV
                        SHUVRQDONQRZOHGJHWKHSURVHFXWLRQRIWKH¶3DWHQWDQGRUUHODWHGSDWHQWV
                        RUSDWHQWDSSOLFDWLRQVEDOORRQDQGSD\ORDGGHVLJQDQGWHVWLQJWKHGHVLJQRI
                        6'&¶VWHFKQRORJ\IRUYDULRXVIHDWXUHVLQFOXGLQJVWHHULQJLWVEDOORRQV
                        PDQDJLQJDIOHHWRIEDOORRQVDQGRUVWDWLRQNHHSLQJUHVHDUFKDQG
                        GHYHORSPHQWRIWKHUPDOPDQDJHPHQWWKH12&V\VWHPVDQGLQIRUPDWLRQ
                        GLVSOD\HGDQGH[SODLQHGWR*RRJOHGXULQJIDFLOLW\WRXUUHVHDUFK
                        GHYHORSPHQWDQGGHVLJQRIIOLJKWGDWDPRQLWRULQJV\VWHPLQIRUPDWLRQ
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                        HPDLOWR0LNH3HDUVRQUH³6SDFH'DWD*RRJOH&RQILGHQWLDOLW\
                        $JUHHPHQW´VXEMHFWVFRYHUHGLQKLVGHSRVLWLRQVLQIRUPDWLRQSHUWDLQLQJWR
                        WRSLF V IRUZKLFKKHLVD)5&3 E  GHVLJQHHDQGIDFWXDODVVHUWLRQVLQ
                        WKH)$&+HPD\DOVRWHVWLI\FRQFHUQLQJGRFXPHQWVRQWKHH[KLELWOLVWWKDW
                        DUHHLWKHUDXWKRUHGE\RUZHUHVHQWWRKLP
 &KDG'H0HHVH          Mr. DeMeese is a former SDC NOC operator and GIS software engineer.                           'LUHFWKRXUV         /LYH
                       0U'H0HHVHLVH[SHFWHGWRWHVWLI\DERXWWKHLQIRUPDWLRQLGHQWLILHGLQ6SDFH                 &URVV>*RRJOHWR
                        'DWD¶V)LIWK$PHQGHG7UDGH6HFUHW'LVFORVXUHVWKHUHVHDUFK                        ILOO@
                        GHYHORSPHQWWHVWLQJDQGXVHE\6'&RILWVFRQILGHQWLDOLQIRUPDWLRQDQG
                        WUDGHVHFUHWVLGHQWLILHGLQWKH)$&DQGLQWKH)LIWK$PHQGHG7UDGH
                        6HFUHW'LVFORVXUHVWKHZLQGGDWDRQGLVSOD\GXULQJ*RRJOH¶V)HEUXDU\
                        WRXUWHVWLQJIXQFWLRQRSHUDWLRQDQGXVHRI6'&WHFKQRORJ\IRUVWHHULQJLWV
                        EDOORRQVPDQDJLQJDIOHHWRIEDOORRQVDQGRUVWDWLRQNHHSLQJWKH³12&´
                        V\VWHPVGLVSOD\HGDQGH[SODLQHGWR*RRJOHLQFOXGLQJGDWDPRQLWRUHGDQG
                        GLVSOD\HGWHVWLQJIXQFWLRQRSHUDWLRQDQGXVHRIIOLJKWGDWDGLVSOD\HGDQG
                        H[SODLQHGWR*RRJOHVXEMHFWVFRYHUHGLQKLVGHSRVLWLRQVLQIRUPDWLRQ
                        SHUWDLQLQJWRWRSLF V IRUZKLFKKHLVD)5&3 E  GHVLJQHHDQGWKH
                        IDFWXDODVVHUWLRQVLQWKH)$&+HPD\DOVRWHVWLI\FRQFHUQLQJGRFXPHQWVRQ
                        WKHH[KLELWOLVWWKDWDUHHLWKHUDXWKRUHGE\RUZHUHVHQWWRKLPDQGWKH
                        PDLQWHQDQFHDQGFRQWHQWRI6'&EXVLQHVVUHFRUGVRQWKHH[KLELWOLVW
 /DUU\3DJH            Mr. Page is Google’s co-founder, Chief Executive Officer of Alphabet Inc.,                    'LUHFWKRXUV        /LYH
                       and former Google C.E.O. 0U3DJHPD\WHVWLI\DERXWPHHWLQJVZLWK6'&                        &URVV>*RRJOHWR
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                       DQG*RRJOH¶V)HEUXDU\WRXUNQRZOHGJHRISKRWRVWDNHQEXWQRW                           ILOO@
                       HPDLOHGRUSRVWHG³IRUREYLRXVUHDVRQV´EXWSXWRQWKHZLNLGLVFXVVLRQV

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                HPDLOVDQDO\VHVPHHWLQJVDQGFRPPXQLFDWLRQVUHJDUGLQJ6'&DQG6'&
                EDOORRQWHFKQRORJ\PHHWLQJVHPDLOVDQGFRPPXQLFDWLRQVZLWK5LFKDUG
                'H9DXO$VWUR7HOOHU6HUJH\%ULQ6HEDVWLDQ7KXUQ3KLO*RVVHWWDQGRWKHU
                *RRJOHHPSOR\HHVUH/RRQGHYHORSPHQWPHHWLQJVHPDLOVDQG
                 FRPPXQLFDWLRQVZLWK$QQH%UD\DQGRWKHUVUHJDUGLQJ/RRQ¶VFRPPHUFLDO
                 YLDELOLW\DQGVXFFHVVWKH³;´+RW/LVW³XQFRQYHQWLRQDOXVHFDVHV´
                 FRQFOXVLRQVRQKRZ*RRJOHFRXOGXVH6'&WHFKQRORJ\WKHVSHFWUXPVXUYH\
                 GHFLVLRQWRJUHHQOLJKW'H9DXO¶VLGHDDQGIXQGLQJFRPPXQLFDWLRQVZLWK
                 '\ODQ&DVH\WRUROORXWDQ6'&FRQVWHOODWLRQLQ/RRQVWUDWHJ\UROORXW
                 DQGSUDFWLFHV/RRQSURMHFWLRQVDQGILQDQFLDOV$OSKDEHWDQG*RRJOH
                 ILQDQFLDOVGRFXPHQWVRQWKHH[KLELWOLVWWKDWDUHHLWKHUDXWKRUHGE\RUZHUH
                 VHQWWRKLPDQGDQ\VXEMHFWVFRYHUHGLQKLVGHSRVLWLRQ
 6HUJH\%ULQ    Mr. Brin is Google’s co-founder and President of Google’s parent company,                            'LUHFWKRXUV        /LYH
                Alphabet Inc.0U%ULQPD\WHVWLI\DERXWPHHWLQJVZLWK6'&DQG*RRJOH¶V                            &URVV>*RRJOHWR
                 )HEUXDU\WRXUNQRZOHGJHRISKRWRVWDNHQEXWQRWHPDLOHGRUSRVWHG                             ILOO@
                 ³IRUREYLRXVUHDVRQV´EXWSXWRQWKHZLNLNQRZOHGJHRI:6-DUWLFOH0U
                 %ULQ¶VFRPPXQLFDWLRQV LQFOXGLQJHPDLOV ZLWK6HEDVWLDQ7KUXQ
                 UHJDUGLQJ6'&DQGWKH:DOO6WUHHW-RXUQDODUWLFOHGLVFXVVLRQVHPDLOV
                 DQDO\VHVPHHWLQJVDQGFRPPXQLFDWLRQVUHJDUGLQJ6'&DQG6'&EDOORRQ
                 WHFKQRORJ\NQRZOHGJHRI*RRJOH¶VORVWVSHFWUXPELGPHHWLQJVHPDLOVDQG
                 FRPPXQLFDWLRQVZLWK5LFKDUG'H9DXO$VWUR7HOOHU/DUU\3DJHDQGRWKHU
                 *RRJOHHPSOR\HHVUH/RRQGHYHORSPHQWPHHWLQJVHPDLOVDQG
                 FRPPXQLFDWLRQVZLWK$QQH%UD\DQGRWKHUVUHJDUGLQJ/RRQ¶VFRPPHUFLDO
                 YLDELOLW\DQGVXFFHVVELZHHNO\DQGPRQWKO\/RRQEXVLQHVVXSGDWH
                 PHHWLQJV/RRQPDQDJHU0LNH&DVVLG\¶V-XO\HFRQRPLFUHYLHZ/RRQ
                 VWUDWHJ\UROORXWDQGSUDFWLFHV/RRQSURMHFWLRQVDQGILQDQFLQJ$OSKDEHW
                 DQG*RRJOHILQDQFLDOVGRFXPHQWVRQWKHH[KLELWOLVWWKDWDUHHLWKHUDXWKRUHG
                 E\RUZHUHVHQWWRKLPDQGDQ\VXEMHFWVFRYHUHGLQKLVGHSRVLWLRQ
 5LFKDUG'H9DXO Mr. DeVaul is a former Director at Alphabet, Inc.’s Research Lab X and                               'LUHFWKRXUV        /LYH
                lead Loon inventor. 0U'H9DXOPD\WHVWLI\DERXWKLVZRUNRQDEDOORRQ                              &URVV>*RRJOHWR
                ERUQHLQWHUQHWFRQVWHOODWLRQGLVFXVVLRQVHPDLOVPHHWLQJVRURWKHU                                ILOO@
                                                                                                                                                                 Case 5:16-cv-03260-BLF Document 632-3 Filed 07/26/19 Page 7 of 11




                FRPPXQLFDWLRQVZLWK/DUU\3DJH6HUJH\%ULQ$VWUR7HOOHU'DQ
                0F&ORVNH\0LQQLH,QJHUVROO-RVK:HDYHU6HEDVWLDQ7KUXQ/DUU\$OGHU

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3ODLQWLII¶V3UHVXPSWLYH)LQDO:LWQHVV/LVW+LJKO\&RQILGHQWLDO²$WWRUQH\V¶(\HV2QO\
                   3KLO*RVVHWWDQGDQ\RWKHU*RRJOHHPSOR\HHUHEDOORRQWHFKQRORJ\LQ
                   'H9DXO¶VGUDZLQJVRQWKHZKLWHERDUG'DHGDOXVSUHVHQWDWLRQWKH
                   GHYHORSPHQWRI'DHGDOXV3URMHFW/RRQ3URMHFW/RRQWKHEUDLQVWRUPLQJ
                   VHVVLRQHQWLWOHG³:L0D[IRUWKH:RUOG´DQGGHYHORSPHQWDQGXVHRIZLQG
                   GDWDRUZLQGPRGHOVIRU'DHGDOXV3URMHFW/RRQ/RRQILQDQFLDODQGFRVW
                   SURMHFWLRQVFRQFHSWLRQDQGUHGXFWLRQWRSUDFWLFHRIWKH¶3DWHQWDQG
                   UHODWHGSDWHQWVDSSOLFDWLRQVLQYHQWRUVKLSRIWKH¶3DWHQWDQGUHODWHG
                   SDWHQWVDSSOLFDWLRQVSURVHFXWLRQRIWKH¶3DWHQWDQGUHODWHG
                   SDWHQWVDSSOLFDWLRQVGRFXPHQWVRQWKHH[KLELWOLVWWKDWDUHHLWKHUDXWKRUHGE\
                   RUZHUHVHQWWRKLPDQGDQ\VXEMHFWVFRYHUHGLQKLVGHSRVLWLRQ
 /DUU\$OGHU      Mr. Alder was Co-Leader of Google’s Alternative Access Group and served                            'LUHFWKRXUV         /LYH
                  as Director of Access Strategy at Google. 0U$OGHUPD\WHVWLI\DERXW                             &URVV>*RRJOHWR
                  PHHWLQJVZLWK6'&DQG*RRJOH¶V)HEUXDU\WRXUGLVFXVVLRQVHPDLOV                           ILOO@
                  DQDO\VHVPHHWLQJVDQGFRPPXQLFDWLRQVUHJDUGLQJ6'&DQG6'&EDOORRQ
                  WHFKQRORJ\NQRZOHGJHRI6'&1'$GLVFXVVLRQVHPDLOVPHHWLQJVRURWKHU
                   FRPPXQLFDWLRQVZLWK5LFKDUG'H9DXO'DQ0F&ORVNH\6HEDVWLDQ7KUXQ
                   DQGRWKHU*RRJOHHPSOR\HHVZRUNRQEDOORRQEDVHGQHWZRUNVIRU
                   *RRJOHRUJSUHVHQWDWLRQGHFNWRXVHFRQVWHOODWLRQEDOORRQVLQ$IULFD
                   GRFXPHQWVRQWKHH[KLELWOLVWWKDWDUHHLWKHUDXWKRUHGE\RUZHUHVHQWWRKLP
                   DQGDQ\VXEMHFWVFRYHUHGLQKLVGHSRVLWLRQ
 0LQQLH,QJHUVROO Ms. Ingersoll worked at Google for 12 years as a project manager and co-                           'LUHFWKRXU         /LYH
                  founded Google’s Access Group. 0V,QJHUVROOPD\WHVWLI\DERXWPHHWLQJV                           &URVV>*RRJOHWR
                  ZLWK6'&DQG*RRJOH¶V)HEUXDU\WRXUGLVFXVVLRQVHPDLOVDQDO\VHV                          ILOO@
                  PHHWLQJVDQGFRPPXQLFDWLRQVUHJDUGLQJ6'&DQG6'&EDOORRQWHFKQRORJ\
                  FUHDWLRQPDLQWHQDQFHWKHDGGLWLRQRIFRQWHQWWKHUHWRDQGWKHFRQWHQWVWRUHG
                  WKHUHLQRQWKH6'&ZLNLXSORDGVWRWKHZLNLUHGDFWLRQRI*RRJOHILQDQFLDO
                  LQIRUPDWLRQRQWKHZLNLDFFHVVRI*RRJOHHPSOR\HHVWRWKHZLNL³6SHFWUXP
                   QRWHVDOLDV´DQGWKH³'DHGDOXVDOLDV´WKH³/RRQ´DOLDVUHTXHVWWR*RVVHWWWR
                   XSORDGLQIRUPDWLRQWRWKHZLNLFRPPXQLFDWLRQVZLWK$OHF3URXGIRRWDQG
                   5\DQ)DORUNQRZOHGJHRI6'&1'$*RRJOH¶VFRQVLGHUDWLRQRIXVLQJKLJK
                   DOWLWXGHEDOORRQVWRSURYLGHFRPPXQLFDWLRQVEDQGZLGWKLQUHODWLRQWR
                                                                                                                                                                 Case 5:16-cv-03260-BLF Document 632-3 Filed 07/26/19 Page 8 of 11




                   *RRJOH¶VWHQWKDQQLYHUVDU\DVDFRPSDQ\LQ6HSWHPEHUGRFXPHQWVRQ


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3ODLQWLII¶V3UHVXPSWLYH)LQDO:LWQHVV/LVW+LJKO\&RQILGHQWLDO²$WWRUQH\V¶(\HV2QO\
                        WKHH[KLELWOLVWWKDWDUHHLWKHUDXWKRUHGE\RUZHUHVHQWWRKHUDQGDQ\VXEMHFWV
                        FRYHUHGLQKHUGHSRVLWLRQ
 .\OH%URRNHV          Mr. Brookes is a Senior Staff Mechanical Loon Engineer. 0U%URRNHVPD\                      'LUHFWKRXUV         /LYH
                        WHVWLI\UHJDUGLQJ/RRQWHFKQRORJ\LQFOXGLQJWKHUPDOPDQDJHPHQW                              &URVV>*RRJOHWR
                        WHFKQLTXHVDQGIOLJKWWHUPLQDWLRQV\VWHPVGRFXPHQWVRQWKHH[KLELWOLVWWKDW                ILOO@
                        DUHHLWKHUDXWKRUHGE\RUZHUHVHQWWRKLPDQGDQ\VXEMHFWVFRYHUHGLQKLV
                        GHSRVLWLRQRUIRUZKLFKKHZDVD)5&3 E  GHVLJQHH
 -RVK:HDYHU           Mr. Weaver is a Google engineer who worked on Project Daedalus and                            'LUHFWKRXUV         /LYH
                       Loon development.0U:HDYHUPD\WHVWLI\DERXWKLVLQYROYHPHQW                              &URVV>*RRJOHWR
                        GLVFXVVLRQVHPDLOVPHHWLQJV UHODWHGWR6'&KLVZRUNZLWKRWKHUVUHODWHG                 ILOO@
                        WR'DHGDOXVKLV$XJXVWUHTXHVWWKDW*RRJOHHQJLQHHUVVKDUH³ZKDW
                        OHVVRQVZHUHOHDUQHG´IURP³WKH6SDFH'DWDSDUWQHUVKLSVEDFNLQ´WKH
                        LGHQWLW\RIDOOSDUWLFLSDQWVLQWKHVHGLVFXVVLRQVDQGRUPHHWLQJVWKH
                        LGHQWLILFDWLRQRIGRFXPHQWVRQLQWHUQDOZLNLVLWHVVKDUHGGLVFXVVLRQVHPDLOV
                        PHHWLQJVRURWKHUFRPPXQLFDWLRQVZLWK5LFKDUG'H9DXO3KLO*RVVHWW
                        6HEDVWLDQ7KUXQ/DUU\$OGHU'DQ0F&ORVNH\DQGRWKHU*RRJOHHPSOR\HHV
                        UHJDUGLQJEDOORRQFRPPXQLFDWLRQV\VWHPV'H9DXO¶VGHYHORSPHQWDQG
                        PRGHORIKLVKLJKDOWLWXGHEDOORRQSURMHFWLGHDGRFXPHQWVRQWKHH[KLELWOLVW
                        WKDWDUHHLWKHUDXWKRUHGE\RUZHUHVHQWWRKLPDQ\VXEMHFWVFRYHUHGLQKLV
                        GHSRVLWLRQVDQGLQIRUPDWLRQSHUWDLQLQJWRWRSLF V IRUZKLFKKHLVD)5&3
                         E  GHVLJQHH
 'DQLHO&RQUDG         Mr. Conrad was a Google engineer, served as an early member of the                            'LUHFWKRXUV         /LYH
                        Android and “Access” teams at Google and Android business project                             &URVV>*RRJOHWR
                        manager.0U&RQUDGPD\WHVWLI\UHJDUGLQJPHHWLQJVZLWK6'&DQGWKH                         ILOO@
                        6'&)HEUXDU\YLVLWSKRWRVDQGQRWHVWDNHQFRQYHUVDWLRQVZLWK0LQQLH
                        ,QJHUVROO/DUU\$OGHU6HUJH\%ULQ0LNH3HDUVRQ3KLO*RVVHWW/DUU\3DJH
                        &KULV6DFFDDQG'\ODQ&DVH\PHPEHUVRIWKHDOWHUQDWLYHDFFHVVWHDP6'&
                        ZLNLXSORDGVWRWKHZLNLVSHFWUXPDOLDVJURXSZRUNUHODWHGWRWKH0+]
                        VSHFWUXPDQGRWKHUVSHFWUXPEDQGV6'&GXHGLOLJHQFHDQGWDVNOLVW6'&
                        1'$6'&³SRWHQWLDODFTXLVLWLRQ´3DJHDQG%ULQ¶VLQGHSHQGHQWGHVLUHWR
                        DFTXLUH6'&6'&YDOXDWLRQ*RRJOH¶VWHQWKDQQLYHUVDU\DQGUROORXWV
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                        GRFXPHQWVRQWKHH[KLELWOLVWWKDWDUHHLWKHUDXWKRUHGE\RUZHUHVHQWWRKLP
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    'DQLHO             Mr. McCloskey was a Google engineer and consultant on Loon. Mr.              'LUHFWKRXUV                         /LYH
    0F&ORVNH\          McCloskey was a Google inventor on numerous patents, often with Phil         &URVV>*RRJOHWR
                        Gossett as a co-inventor. For several years, Mr. McCloskey served as head    ILOO@
                        of Google’s Advanced Technology and Projects Group.0U0F&ORVNH\PD\
                        WHVWLI\UHJDUGLQJ6'&GXHGLOLJHQFHSRWHQWLDO6'&DFTXLVLWLRQYDOXDWLRQ
                        *RRJOH¶V6'&)HEUXDU\YLVLW6'&1'$QRWHVWDNHQRQWKH6'&WRXU
                        GHVWUXFWLRQRIVDPHGLVFXVVLRQVZLWKWKH/RRQGHYHORSHUVDIWHU-RVK
                        :HDYHU¶V³ORYHWRKHDUOHVVRQVOHDUQHG´HPDLOFRQYHUVDWLRQVDQGPHHWLQJV
                        ZLWK5LFKDUG'H9DXO0LQQLH,QJHUVROO-RVK:HDYHUDQGRWKHU/RRQ
                        HQJLQHHUVDERXW3URMHFW/RRQ6'&ZLNLXSORDGVWRWKHZLNLDOWHUQDWLYH
                        DFFHVVJURXSDQGPHHWLQJVGRFXPHQWVRQWKHH[KLELWOLVWWKDWDUHHLWKHU
                        DXWKRUHGE\RUZHUHVHQWWRKLPDQ\VXEMHFWVFRYHUHGLQKLVGHSRVLWLRQVRU
                        IRUZKLFKKHZDVGHVLJQDWHGDVD)5&3 E  GHVLJQHH
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    :LWQHVV/LVW     6KRUW6WDWHPHQWRIWKH6XEVWDQFHRI7HVWLPRQ\                 (VWLPDWHG/HQJWK      ([SHUW7KHRULHV     :KHWKHU/LYHRU
                                                                                         'LUHFW&URVV   &RQFOXVLRQVDQG%DVHV %\'HSRVLWLRQ
    6DP3XOOHQ      Dr. Pullen is an expert retained by SDC to testify              'LUHFWKRXUV See DWWDFKHGFXUULFXOXP /LYH
                    regarding infringement of the Ҳ706 patent by                    &URVV>*RRJOHWR vitaeDQGUHSRUW V 
                    certain instrumentalities of Defendants and the                 ILOO@
                    validity of the ’706 Patent. He will testify
                     regarding the matters discussed in his expert
                     report of September 14, 2018, his rebuttal report
                     dated November 16, 2018, his depositions, and his
                     declarations filed in this case, with respect to the
                     ’706 Patent.
    &KULVWLQH       Dr. Meyer is an expert retained by SDC to testify               'LUHFWKRXUV      See DWWDFKHGFXUULFXOXP        /LYH
    0H\HU           regarding damages for theft of trade secrets and                &URVV>*RRJOHWR       vitaeDQGUHSRUW V 
                    breach of contract. She will testify regarding the              ILOO@
                    matters disclosed in her expert report of September
                    14, 2018 and Addendum report dated November 6,
                    2018, and discussed in her deposition, with respect
                     to theft of trade secrets and breach of contract.
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       ,QDGGLWLRQWRWKHZLWQHVVHVLGHQWLILHGDERYH6'&UHVHUYHVWKHULJKWWRFDOODQ\ZLWQHVVLGHQWLILHGRQ'HIHQGDQWV¶ZLWQHVVOLVW
6'&KDVFRXQWHUGHVLJQDWHGGHSRVLWLRQWHVWLPRQ\RIYDULRXVZLWQHVVHVGHVLJQDWHGE\'HIHQGDQWVSXUVXDQWWR-XGJH)UHHPDQ¶V-XU\
3UHWULDO6WDQGLQJ2UGHU6KRXOG'HIHQGDQWVLQWURGXFHDQ\GHSRVLWLRQWHVWLPRQ\LWKDVGHVLJQDWHG6'&UHVHUYHVWKHULJKWLQUHEXWWDO
WRLQWURGXFHWKHWHVWLPRQ\LWKDVFRXQWHUGHVLJQDWHG
                                                                                                                                                                 Case 5:16-cv-03260-BLF Document 632-3 Filed 07/26/19 Page 11 of 11




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